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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                                   Case No. 1:24-cr-00091 (GHW)

             -v-

ANDREY KOSTIN et al.,

                               Defendants.




      DECLARATION OF DAVID C. RYBICKI IN SUPPORT OF DEFENDANT
   VADIM WOLFSON’S MOTION FOR A BILL OF PARTICULARS, TO SUPPRESS
   FRUITS OF SEARCHES FOR LACK OF PROBABLE CASE, AND TO REQUIRE
                PRODUCTION OF GRAND JURY MATERIALS


Pursuant to 28 U.S.C. § 1746, I, David C. Rybicki, declare under oath as follows:

   1. I am a partner at K&L Gates LLP in Washington, D.C., and counsel to Vadim Wolfson.

   2. I make this Declaration in support of Mr. Wolfson’s Motion for a Bill of Particulars, to

       Suppress the Fruits of Searches for Lack of Probable Cause, and to Require Production of

       Grand Jury Materials (the “Motion”).

   3. On August 19, 2024, I met with AUSA Emily Deininger and AUSA David Felton, members

       of the prosecution team in this matter, at the U.S. Attorney’s Office for the Southern District

       of New York. During this meeting, AUSAs Deininger and Felton proffered that the

       government has no evidence of a direct payment by Mr. Wolfson to Andrey Kostin related

       to the 2019 repayment of the loan Mr. Wolfson received from the parent company of

       CapitalInvest in 2014. Although the government has indicated a belief that this allegation

       can nonetheless be proven, the prosecution team declined during that meeting to address

       what testimony it intended to elicit on this central part of its case.
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4. Annexed hereto as Exhibit A hereto is a true and correct copy of a November 2024 email

   chain between me and the prosecution team in which the prosecution team declined to

   provide the information that is at issue in the Motion.

5. The government has produced more than 4.4 million pages of documents, with the most

   recent production occurring on November 6, 2024. The prosecution team has indicated

   that additional Rule 16 and Section 3500 materials remains forthcoming.

6. In the government’s productions, the entire contents of devices, such as a phone and iPad,

   have been produced as spreadsheets, which each comprise just one Bates number per

   device but contain voluminous data.

7. Annexed hereto as Exhibit B is a true and correct copy of the November 16, 2022,

   memorandum from Mr. Wolfson’s prior counsel to the prosecution team.

8. Annexed hereto as Exhibit C is excerpts from a compilation of documents related to 40

   North Star LLC. The entire compilation is voluminous but can be filed at the Court’s

   request.

9. Annexed hereto as Exhibit D is a true and correct copy of an April 26, 2018, Wells Fargo

   Certification of Beneficial Owners.

10. Annexed hereto as Exhibit E is a true and correct copy of the May 12, 2014, Master

   Agreement on General Loan Terms between Capital Business Finance and Bentronian.

11. Annexed hereto as Exhibit F is a true and correct copy of the Capital Business Finance

   Cyprus Corporation Registration.

12. Annexed hereto as Exhibit G is a true and correct copy of an August 4, 2014, email chain

   involving an insurance representative.




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   13. Annexed hereto as Exhibit H is a true and correct copy of 40 North Star’s 2017 draft

      corporate tax return.

   14. Annexed hereto as Exhibit I is a true and correct copy of a March 1, 2015, email involving

      an insurance company representative.

   15. Annexed hereto as Exhibit J is a true and correct copy of the RCB transfer statements

      between Vadim Wolfson, CapitalInvest, and Altamonte.

   16. Annexed hereto as Exhibit K is a true and correct copy of the November 20, 2018,

      assignment agreement between Capital Business Finance Ltd and CapitalInvest Ltd.

   17. Annexed hereto as Exhibit L is a true and correct copy of an August 8, 2023, letter to the

      prosecution team.

   18. Annexed hereto as Exhibit M is a true and correct copy of the May 23, 2023, transcript of

      grand jury testimony.

   19. Annexed hereto as Exhibit N is a true and correct copy of the search warrant to AT&T for

      the location information and pen register for Mr. Wolfson’s cellphone.

   20. Annexed hereto as Exhibit O is a true and correct copy of the search warrant for Mr.

      Wolfson’s residence.

   21. Annexed hereto as Exhibit P is a true and correct copy of the search warrant to Google

      LLC for Vadim Wolfson’s accounts.

   22. Annexed hereto as Exhibits Q and R are true and correct copies of documents pertaining

      to the search warrant issued to Apple, Inc. for Mr. Wolfson’s account.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: November 25, 2024
       Washington, D.C.
                                                    /s/ David C. Rybicki
                                                    David C. Rybicki

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                  EXHIBIT A
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From:             Felton, David (USANYS)
To:               Rybicki, David C.; Deininger, Emily (USANYS); Johnson, Oleksandra (CRM); Shugert, Shawn (NSD)
Cc:               Silverblatt, Rob S.; Harper, Michael C.
Subject:          RE: Conference re Bill of Particulars
Date:             Thursday, November 14, 2024 9:26:41 AM




  This Message Is From an External Sender
  This message came from outside your organization.


David,

Thanks for reaching out. We respectfully decline to provide the requested information, as the
detailed Indictment and discovery, including early witness statements, already provide far more
information than is required.

David R. Felton
Assistant United States Attorney
Southern District of New York
Tel: (212) 637-2299
Cell: (917) 710-0429
E-mail: david.felton@usdoj.gov


From: Rybicki, David C. <David.Rybicki@klgates.com>
Sent: Wednesday, November 13, 2024 11:47 AM
To: Deininger, Emily (USANYS) <EDeininger@usa.doj.gov>; Felton, David (USANYS)
<DFelton@usa.doj.gov>; Johnson, Oleksandra (CRM) <Oleksandra.Johnson2@usdoj.gov>; Shugert,
Shawn (NSD) <Shawn.Shugert@usdoj.gov>
Cc: Silverblatt, Rob S. <Rob.Silverblatt@klgates.com>; Harper, Michael C.
<Michael.Harper@klgates.com>
Subject: [EXTERNAL] Conference re Bill of Particulars

Emily – we are contemplating moving to compel a bill of particulars on several topics which arose
during our meeting in August and which feature in the indictment. In an effort to avoid the need to
move, and in a good faith effort to confer with the prosecution team on these topics, we request that
you provide us with a description of the specific nature of the evidence you propose to offer on the
following topics:

       Basis for claim that Capital Business Finance “regularly funded” the Altamonte account with
       payments for the “maintenance of the Aspen Home” and the visits of Kostin and his guests.

       Basis for the claim raised during our August 19, 2024, meeting that the July 21, 2016, “Call
       Option Agreement” between Altamonte and Capital Business Finance was a sham transaction
       designed as “cover” for payments made by Capital Business Finance to Altamonte.

       Identification of documents and names of witnesses the government proposes to use as
       evidence to support the claim that CC-1 and CC-3 control Capital Business Finance on behalf
       of Kostin. We requested this evidence during our meeting with you on August 19, 2024, and
       you refused to provide any further details regarding the nature of the proof you propose to
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        offer to support the claimed “nominee” or “pass-through” relationship between CC-1/CC-3
        and Kostin.

        Any other basis for your assertion that Kostin benefitted from the 2019 transaction.

Happy to schedule a call to discuss if that would help. Best, David




David C. Rybicki
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david.rybicki@klgates.com | www.klgates.com (bio)




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error, please contact me at David.Rybicki@klgates.com.-4
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     EXHIBIT B
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     EXHIBIT C
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     EXHIBIT D
[FILED UNDER SEAL]
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      EXHIBIT E
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      EXHIBIT F
 [FILED UNDER SEAL]
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      EXHIBIT G
 [FILED UNDER SEAL]
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      EXHIBIT H
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      EXHIBIT I
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      EXHIBIT J
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      EXHIBIT K
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        EXHIBIT L
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        EXHIBIT M
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        EXHIBIT N
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        EXHIBIT O
   [FILED UNDER SEAL]
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        EXHIBIT P
   [FILED UNDER SEAL]
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        EXHIBIT Q
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        EXHIBIT R
   [FILED UNDER SEAL]
